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  MON LLC,
  Millennium Funding, Inc.,
  Bodyguard Productions, Inc.,
  TBV Productions, LLC,
  UN4 Productions, Inc., and
  Hunter Killer Productions, Inc.


                       UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   Venice PI, LLC et al.,               )   Case No.: 1:19-cv-169-LEK-KJM
                                        )   (Copyright)
                    Plaintiff,          )
       vs.                              )   STIPULATION TO EXTEND
                                        )   DEADLINE FOR DEFENDANTS
   NGUYEN DINH MANH et. al.             )   TECHMODO LIMITED AND
                                        )   SENTHIL VIJAY SEGARAN TO
                   Defendants.          )   SERVE INITIAL DISCLOSURES
                                        )   AND ORDER
                                        )
                                        )
                                        )
                                        )
                                            DENIED
                                        )   SCHEDULING CONFERENCE
                                        )   DATE: 1/6/2020 @ 9:30 AM
                                        )   BEFORE MAGISTRATE JUDGE
                                        )   KENNETH J. MANSFIELD



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          STIPULATION TO EXTEND DEADLINE FOR DEFENDANTS TECHMODO
              LIMITED AND SENTHIL VIJAY SEGARAN TO SERVE INITIAL
                           DISCLOSURES AND ORDER


                Whereas, the undersigned parties, Plaintiffs Venice PI, LLC, MON LLC,

        Millennium Funding, Inc., Bodyguard Productions, Inc., TBV Productions, LLC,

        UN4 Productions, Inc., and Hunter Killer Productions, Inc. through their counsel

        Kerry S. Culpepper, Defendant Senthil Vijay Segaran appearing pro se and

        Defendant Techmodo Limited appearing pro se through its sole shareholder Senthil

        Vijay Segaran (these two Defendants hereafter jointly referred to as “YTS

        Defendants”), agree that it would be appropriate to extend the time to serve initial

        disclosures in order to allow the YTS Defendants time to file their Answer to

        Plaintiff’s Complaint.

                Plaintiffs granted YTS Defendants up until February 21, 2020, to file their

        Answer to Plaintiff’s Complaint.

                The YTS Defendants agree that service is proper and to the personal

        jurisdiction of this Court.

                IT IS HEREBY STIPULATED AND AGREED by the parties, that the

        deadline to submit their initial disclosures shall be extended to February 21, 2020.



        DATED: Kailua-Kona, Hawaii, November 5, 2019.



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                                       CULPEPPER IP, LLLC


                                       /s/ Kerry S. Culpepper
                                       Kerry S. Culpepper

                                       Attorney for Plaintiffs


        DATED: London, England, November 5, 2019.

                                       _____/s/ Segaran________
                                       Senthil Vijay Segaran, appearing pro se and in
                                       behalf of Techmodo Limited as its sole
                                       shareholder

         DENIED
         Pursuant to LR81.1(b), Techmodo Limited must be represented by an attorney.

         IT IS SO ORDERED.

         DATED: Honolulu, Hawaii, November 15, 2019.



                                         Kenneth J. Mansfield
                                         United States Magistrate Judge


        __________________________________________________________________
        Venice PI, LLC, et al v. NGUYEN DINH MANH, et al; Case No. 1:19-cv-00169-
        LEK-KJM; STIPULATION TO EXTEND DEADLINE TO SERVE INITIAL
        DISCLOSURES AND ORDER




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